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                                                   NON-CONFIDENTIAL VERSION


        IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


WIND TOWER TRADE COALITION,              Before: Hon. Timothy M. Reif,
                                                 Judge
                       Plaintiff,
                                         Court No. 20-03692
                  v.
                                         NON-CONFIDENTIAL VERSION
UNITED STATES,

                       Defendant.        Business Proprietary Information
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           PLAINTIFF'S COMMENTS ON REMAND DETERMINATION

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Dated: September 7, 2022
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I.     INTRODUCTION

       On behalf of Plaintiff the Wind Tower Trade Coalition (the "WTTC"), we respectfully

submit the following comments on the final results of redetermination pursuant to remand issued

by the Department of Commerce ("Commerce") regarding the countervailing duty investigation

into utility scale wind towers from the Socialist Republic of Vietnam ("Vietnam"). Final Results

of Redetermination Pursuant to Court Remand, Wind Tower Trade Coalition v. United States,

Court No. 20-03692, Slip. Op. 22-27 (CIT Mar. 24, 2022) (July 22, 2022), ECF No. 37-1 ("Final

Remand Results").

       Petitioners respectfully submit that Commerce's Final Remand Results do not fully and

adequately address the Court's remand requests and are inconsistent with both the facts and law.

For the reasons provided below, Petitioners request that this Court reject the redetermination

results and remand back to the agency for redetermination consistent with Slip Op. 22-27.

II.    BACKGROUND

       The Court of International Trade (the "Court") remanded Commerce's final determination

to address two issues. First, the Court found that Commerce failed to address WTTC's argument

that using CS Wind Korea's reported sales value in the sales denominator could allow CS Wind

Vietnam Co., Ltd. ("CS Wind Vietnam") to manipulate the countervailing duty ("CVD") rate.

 Wind Tower Trade Coalition v. United States, No. 20-03692, slip op. 22-27 (Ct. Intl Trade

Mar. 24, 2022), ECF No. 34 at 50 ("Slip Op. 22-27"). Specifically, the Court requested that

Commerce:

       (1) discuss and address the evidence that WTTC presented as related to
       manipulation; (2) address WTTC's manipulation argument as to the denominator
       used in the benefit calculation; and (3) explain whether Commerce considered
       manipulation in reaching its determination, or if it did not, why it did not.




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id. at 76-77. Second, the Court held that it could not conclude that 'the record as awhole'

supported Commerce's conclusion as to the supplier and country of origin" for certain steel plate

due to the agency's failure to explain and support that conclusion. Id. at 74. As aresult, the Court

remanded Commerce's analysis of the origin of the steel plate at issue for Commerce to:

       (4) substantiate its conclusion that CS Wind Vietnam did not import the steel plate
       in light of the evidence and arguments that detract from Commerce's conclusion
       that were presented by WTTC; (5) state the salience, if any, of the [
                          ]rate to its determination that the raw material inputs in question
       came from Vietnam; and (6) explain why it has listed an [            ]tariff rate in its
       calculations of the Import Duty Exemptions program for the line entries of the raw
       material inputs in question that also are listed as having a country of origin of
       [         ]. In addressing these points, Commerce is to explain: (7)(a) if CS Wind
       Vietnam were the importer of record, would it be eligible to receive abenefit under
       the Import Duty Exemptions program; (7)(b) If CS Wind Korea were the importer
       of record and transferred the raw material inputs to CS Wind Vietnam, would either
       CS Wind Vietnam or CS Wind Korea be eligible to receive abenefit under that
       program; and (7)(c) if an unaffiliated third entity were the importer of record and
       sold the raw material inputs to CS Wind Korea for processing by CS Wind Vietnam,
       would CS Wind Vietnam be eligible to receive abenefit under that program.

Confidential Opinion, Wind Tower Trade Coalition v. United States, No. 20-03692 (Ct. Int'l Trade

Mar. 24, 2022), ECF No. 29 at 77 (internal citations omitted) ("Confidential Opinion").

       Commerce's Final Remand Results do not fully and adequately address the Court's remand

instructions and require further remand. The WTTC disagrees with Commerce's redetermination

for the reasons discussed below.

III.   ARGUMENT

       A.      Evidence of Manipulation

       In the Final Remand Results, Commerce continues to unreasonably disregard the potential

for CS Wind to manipulate its margin through its relationship with its Korean parent company.

The Court recognized that WTTC presented four reasons that CS Wind Vietnam's tolling

arrangements and business practices "raised concerns about the potential impact of manipulation




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on Commerce's subsidy calculation" and "warranted aresponse by Commerce." Slip Op. 22-27

at 52. Commerce's Final Results do not, however, support the agency's conclusion regarding

manipulation with substantial record evidence or fully address WTTC's arguments regarding

manipulation of the U.S. trade remedy laws.

       As an initial matter, WTTC maintains that Commerce's use of CS Wind Korea's sales

revenues in the denominator was inconsistent with its regulations and past practice. The potential

for manipulation is at issue because Commerce improperly attributed CS Wind Vietnam's

subsidies—inconsistent with 19 C.F.R. §351.525(b)(6)(i). Likewise, Commerce's decision was

also inconsistent with the "multinational firm" provision of 19 C.F.R. § 351.525(b)(7), which

required Commerce to attribute asubsidy to products "produced by the firm within the country of

the government that granted the subsidy." In this case, the Government of Vietnam provided

subsidies to CS Wind Vietnam in Vietnam. As aresult of Commerce's failure to adhere to its

regulations and past decisions in analogous situations, the door is open for CS Wind to structure

its global operations in away that manufactures the most beneficial countervailing duty rate.

       Commerce's Final Remand Results are also unsupported by substantial evidence and fail

to fully respond to the Court's remand instructions. The Court requested that Commerce respond

to evidence WTTC provided regarding the potential for manipulation of the subsidy margin. The

four indicia of manipulation are (1) CS Wind Vietnam and CS Wind Korea's sudden [

                                        ], (2) CS Wind Korea [

                                                            ], (3) CS Wind Korea becoming the

[                                  ], and (4) CS Wind Vietnam's claim that it used toll processing

agreements to "better control costs." See generally Confidential Opinion at 34-35. While

Commerce attempts to address this evidence in apiecemeal fashion, it fails to recognize how this




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evidence, as awhole, demonstrates the potential for CS Wind to game U.S. AD/CVD law and its

interest in doing so.

        As discussed in WTTC's case brief in the underlying investigation, CS Wind's actions did

not occur in isolation. Instead, CS Wind Korea restructured its relationship with its Vietnamese

subsidiary while it was repositioning itself as [                          ]and [

              ]. See Letter from Wiley Rein LLP to Sec'y Commerce, re: Utility Scale Wind Towers

From The Socialist Republic cf Vietnam: Case Brief (Apr. 3, 2020), C.R. 107-108, P.R. 194 at 26-

28 ("WTTC's Case Brier). Further, these abrupt actions occurred [




                                           ]. Taken as awhole, this series of actions and the time at

which they occurred suggest that CS Wind was redesigning its operations to minimize the impact

of new/renewed antidumping and countervailing duty investigations and orders.

        Commerce's treatment of CS Wind's [                                    ]showcases Commerce's

siloed approach. Commerce's Final Remand Results dismiss the abrupt shift from [

                                                                                                      ]to

purchasing no inputs from CS Wind Group in 2018. Final Remand Results at 6-7. Commerce

points to tolling arrangements from [                           ]as evidence that CS Wind Vietnam's

                                     ]was unrelated to possible manipulation of U.S. trade law.

However, the mere existence of these tolling contracts does not explain the reason for the [




               ]. 1 Commerce ignores that the [                                       ] occurred amidst



1       Indeed, [                                                                                     ]. See
Memorandum from John McGowan & Julie Geiger, Int'l Trade Analysts, Off. VI, AD/CVD Operations, through Erin
Kearney, Program Manager, Off. VI, AD/CVD Operations, to The File, re: Ver,fication cf the Questionnaire



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numerous other structural changes at CS Wind Corporation that would have similar effects on

reported costs.

        Instead, Commerce simply adopts CS Wind's explanation for its [

         ], claiming that "{t} oiling arrangements are common business practices that do not

inherently evince efforts to manipulate the value of acompany's sales" and that "{a} company

could adopt amore efficient business arrangement, including tolling, that reduces its costs." See

Final Remand Results at 8. These general conjectures are not supported by the record and are not

based on CS Wind Vietnam's actual experience. Indeed, Commerce explicitly asked CS Wind to

explain the "reason behind" structuring agreements as processing contracts, but CS Wind refused

to answer, responding that its "business decision to structure it's {sic} sales in this manner is not

relevant to the CVD case in Vietnam." See Letter from Grunfeld, Desiderio, Lebowitz, Silverman

& Klestadt, LLP to Sec'y Commerce, re: CS Wind First Supplemental Questionnaire Response:

Countervailing Duty Investigation cf Utility Scale Wind Towers from Vietnam (C-552-826)

(Nov. 6, 2019), C.R. 76-81, P.R. 122-128 at 3. Ironically, the answer to Commerce's question is

now extremely relevant to this case, but CS Wind refused to provide aresponse. While Commerce

claims that CS Wind subsequently answered this question when it reported that tolling agreements

were established to "better control costs," Final Remand Results at 12, this is the same cursory

rationale the Court asked Commerce to discuss in further detail, and it has failed to do so.

Moreover, this explanation plainly does not explain CS Wind's [

               ]. It also ignores the broader context in which the 2018 arrangements occurred, i. e.,

directly in the wake of CS Wind's [




Responses cf CS Wind Vietnam Co., Ltd.: Countervailing Duty Investigation cf Utility Scale Wind Towers from the
Socialist Republic cf China (Mar. 18, 2020), C.R. 105, P.R. 186 at 9.




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              ].

       For these reasons, Commerce's Final Remand Results are unsupported by substantial

record evidence, inconsistent with the record as awhole, and fail to adequately address the Court's

requests and concerns.

       B.      Origin of Steel Plate

       Regarding the issue of whether CS Wind Vietnam imported steel plate under the Import

Duty Exemption program, the Court found that record evidence "raised concerns about the

potential impact of a different country of origin of the steel plate in question on Commerce's

subsidy calculation and, therefore, could seriously undermine Commerce's reasoning and

conclusions." Slip Op. 22-27 at 70. In the Final Remand Results, Commerce found this record

evidence to be insufficient to outweigh other evidence indicating that the steel plate could have

been sourced from within Vietnam. Final Remand Results at 17. On this basis, Commerce has

concluded that CS Wind Vietnam did not import the steel plate in question and did not receive

benefits under the Import Duty Exemption program. Id. at 17-18.

       The Final Remand Results, however, do not cite "substantial evidence" to support their

conclusions with respect to the origin of the steel plate. Slip Op. 22-27 at 70-71. Instead of relying

on record evidence identifying the country of origin of the steel plate in question, Commerce based

its conclusion on "possibilities in which steel plate can be sourced from within Vietnam ...."

Final Remand Results at 19. As an initial matter, Commerce's reliance on speculative

"possibilities" underscores the degree to which CS Wind provided inaccurate and incomplete

information on the country of origin for this steel plate during the underlying investigation. Based

on the respondent's failure to provide accurate and complete information and failure to act to the




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best of its ability, Commerce should follow its adverse facts available ("AFA") hierarchy and apply

the highest subsidy rate under this program from another CVD proceeding involving Vietnam. See

WTTC's Case Brief at 21. See also section 776(d) of the Tariff Act of 1930, codlied as amended

at 19 U.S.C. §1677a(d) (2000).

       Regardless, Commerce's conclusions are not adequately explained or supported by the

record. The agency has determined that "evidence cited by the petitioners does not preclude

possibilities in which steel plate can be sourced from within Vietnam even if the mill where the

plate was produced was located outside Vietnam." Final Remand Results at 19 (citation omitted).

Specifically, Commerce explained:

       The [                      ]demonstrates that the steel plate was transported by
             ]from [                     ]to [                   ]and thus never left the
       country. Regardless, if [                   ]imported the steel plate, neither CS
       Wind Korea nor CS Wind Vietnam would be the importer and would not be liable
       for import duties, if such duties were applicable, and would not be the beneficiary
       of any exemptions of those duties.

Id. (citing Letter from Grunfeld, Desiderio, Lebowitz, Silverman & Klestadt LLP to Sec'y

Commerce, re: CS Wind Verlication Exhibits in the Countervailing Duty Investigaion cf Utility

Scale Wind Towers from Vietnam (C-552-826) (Mar. 4, 2020), C.R. 101-104, P.R. 185 at

Exhibit VE-15, p. 71 ("CS Wind Verification Report")). This explanation does not support

Commerce's conclusion that the steel plate in question was sourced from within Vietnam. Indeed,

it concedes that the plate could well be non-Vietnamese but attempts to sidestep the issue with

speculation about whether [                  ]might have been the importer of the plate, and what

impacts this might have on responsibility for import duties. But nothing in the record

documentation that Commerce cited shows [                      ]imported the steel plate. CS Wind

Verification Report at Exhibit VE -15, p. 71. Instead, the documentation [




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                ]. Id. Thus, the conclusion that "neither CS Wind Korea nor CS Wind Vietnam

would be the importer and would not be liable for import duties" is sheer conjecture. Final Remand

Results at 19. In fact, [

                                                                                       ]. CS Wind

Verification Report at Exhibit VE -15, p. 71. In short, Commerce's conclusion that "{n} either CS

Wind Korea nor CS Wind Vietnam would be the importer and would not be liable for import

duties" is based on speculative "possibilities," not on substantial evidence. Final Remand Results

at 19.

         The Final Remand Results also fail to adequately address akey piece of record evidence:

the steel plate could not have been sourced from within Vietnam because the reported Vietnamese

supplier of steel plate does not operate aplate mill in Vietnam. Slip Op. 22-27 at 69-70. See also

Final Remand Results at 17 (citing WTTC's Case Brief at 15). Without addressing this evidence,

however, Commerce still concludes in the Final Remand Results that the steel plate in question "is

sourced from within Vietnam." Final Remand Results at 20. The issue here, though, is not where

the goods were "sourced." Instead, the issue is where the goods originated —in Vietnam, or outside

of Vietnam. The Court specifically found that it was "necessary for Commerce to demonstrate that

its conclusion on country of origin for these transactions was supported by substantial evidence

considering the record as awhole." Slip Op. 22-27 at 70-71 (emphasis added). As the Court has

found elsewhere, "if any single material aspect of Commerce's determination is shown

unreasonable, then the determination 'as awhole' unravels." Borusan Mannesmann Boru Sanayi

ve Ticaret A.S. v. United States, 61 F. Supp. 3d 1306, 1324 (Ct. Intl Trade 2015) (citing Universal

Camera Col p. v. NLRB, 340 U.S. 474, 488 (1951) (stating that "substantiality of evidence must




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take into account whatever in the record fairly detracts from its weight.")). Here, even if

Commerce's statement that the plate in question was "sourced" in Vietnam is read as a

determination that that plate was actually produced/originated there, that conclusion unravels

because at least one material aspect of the conclusion is unreasonable. Specifically, Commerce

based its determination on speculative "possibilities" with respect to the steel plate, while ignoring

evidence that shows that the steel plate could not have been produced within Vietnam. Final

Remand Results at 19. On this basis, the conclusions in the Draft Results are unreasonable. Rather

than continue them, Commerce should apply AFA because of the respondent's failure to provide

necessary information that would have allowed for adetermination based on substantial evidence.

       Finally, Commerce concluded that:

       {El ven if Commerce were to determine incorrectly that the steel plate at issue was
       imported (which it did not), Commerce's determination would have no effect on
       the calculation of the benefit under this program, because the imported steel plate
       would have been subject to {a} duty rate of zero, pursuant to {MFN} status.

Final Remand Results at 21. This conclusion is also not based on substantial evidence. Commerce

has recognized elsewhere that MFN duty rates "reflect the general tariff rate applicable to world

trade" for members of the World Trade Organization ("WTO"). See, e.g., Issues and Decision

Memorandum accompanying Citric Acid and Certain Citrate Salts From the Pecple's Republic cf

China, 79 Fed. Reg. 108 (Dep't Commerce Jan. 2, 2014) (final results of countervailing duty

admin. rev.; 2011) at cmt. 13.F. Not all countries in the world, however, are members of the WTO

(e.g., "Observer" countries). MFN status between countries is also not fixed, as shown by the

recent revocation of the Russian Federation's MFN status by the United States and other countries.

Commerce's determination that the steel plate in question was subject to MFN duty rates is

dependent upon the identification of the plate's country of origin, but Commerce failed to base its

country-of-origin determination on substantial record evidence. Without information that the


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respondent failed to provide, the agency cannot determine the country of origin of the steel plate

and cannot determine the level of benefit that the respondent received under the program.

Accordingly, on the basis of AFA, Commerce should have applied asubsidy rate of 4.46% to the

program in the Final Remand Results, but failed to do so. WTTC's Case Brief at 21.

IV.    CONCLUSION

       For the reasons contained herein, the WTTC respectfully requests that the Court reject

Commerce's final results of redetermination and remand to Commerce for further consideration.


                                                     Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


with the word limitation requirement. The word count for Plaintiff's Comments on Remand

Determination, as computed by Wiley Rein LLP's word processing system (Microsoft Word


2016), is 3,034 words.


                                       /s/ Alan H. Price
                                    (Signature of Attorney)


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                                     (Representative Of)


                                      September 7, 2022
                                           (Date)




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